          Case 8:21-cv-00839-SDM-AAS Document 44 Filed 05/13/21 Page 1 of 2 PageID 1752


                                       UNITED STATES DISTRICT
                                      COURT MIDDLE DISTRICT OF
                                       FLORIDA TAMPA DIVISION

                                               CLERK’S MINUTES



    CASE NO. 8:21-cv-839-SDM-AAS                                DATE: May 12, 2021
    HONORABLE STEVEN D. MERRYDAY                                COURTROOM: 15A
    STATE OF FLORIDA,                                           PLAINTIFFS’ COUNSEL
                                                                James Percival
                                                                Anita Patel
                                                                Jason Hilborn
                                                                John Guard

                        Plaintiff,
    v.

                                                      DEFENSE COUNSEL
    XAVIER BECERRA, Secretary of Health and           Amy Powell
    Human Services, in his official capacity; HEALTH
    AND HUMAN SERVICES; ROCHELLE
    WALENSKY, Director of the Centers for Disease
    Control and Prevention, in her official capacity;
    CENTERS FOR DISEASE CONTROL AND
    PREVENTION; The UNITED STATES OF
    AMERICA,
                         Defendants.
    COURT REPORTER: Shayna Montgomery                           DEPUTY CLERK: Kathy Rodriguez
    TIME: 9:03 a.m.–10:15 a.m.
                                                                TOTAL: 3 hours, 49 minutes
         10:42 a.m.–12:12 p.m.
          2:04 p.m.–3:11 p.m.

PROCEEDINGS: HEARING RE PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
(DOC. 9)

•        Court in session.

•        All parties are present in the courtroom and identified for the record.
     Case 8:21-cv-00839-SDM-AAS Document 44 Filed 05/13/21 Page 2 of 2 PageID 1753


•   Plaintiff moves for all exhibits for plaintiff and defendant to be admitted.

•   Court receives both parties’ exhibits for the purposes of this hearing.

•   Oral argument present on behalf of the Plaintiff.

•   Court takes a recess.

•   Oral argument present on behalf of the Defendants.

•   Court breaks for lunch.

•   Oral argument continued on behalf of the Defendants.

•   Response by the Plaintiff and Defendants.

•   The Court takes the matter under advisement.

•   Hearing concluded.
